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U.S. Department of Justice
United States Attorney
Eastern District of Louisiana

 

 

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October 18, 2018

Honorable Carl J. Barbier
United States District Judge
Eastern District of Louisiana
500 Poydras Street, Room C256
New Orleans, Louisiana 70130

Re: United States v. Jody Lambert
Criminal Docket No.: 18-160 “J”

Dear Judge Barbier:

In compliance with the holding of Bryan v. United States, 492 F.2d 775 (Sth Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Government wishes to
acknowledge the following agreement between the Government and Jody Lambert, the defendant,
in the above-captioned proceeding. Defendant’s undersigned counsel, Ralph S. Whalen, Jr., has
reviewed the terms of this agreement and has been advised by the defendant that the defendant
fully understands the terms of this agreement.

The Government will allow the defendant, Jody Lambert, to plead guilty to a Superseding
Bill of Information charging him with one count of a Civil Rights Conspiracy, in violation of Title
18, United States Code, Section 241, for conspiring to injure, oppress, threaten, and intimidate
victim D.P. in the free exercise of her rights under the Fair Housing Act. The Government has
agreed that, should the Court accept the defendant’s guilty plea to the Superseding Bill of
Information, the Government will request the Court to dismiss, at the time of sentencing, Counts
1, 2, and 4 of the pending Indictment against the defendant. The defendant understands that the
Court is not bound to dismiss any count. The Government further agrees that it will not bring any
other criminal charges in the Eastern District of Louisiana arising from the defendant’s
involvement in the abuse of victim D.P. in Amite, Louisiana, and from the manufacture of
methamphetamine in Amite, Louisiana, so long as the defendant has truthfully informed law
enforcement officials of the full and complete details of those crimes prior to his guilty plea in this

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case. The defendant understands that this does not apply to crimes of violence that he may have
committed that he has not yet disclosed to the Government. The Government further agrees to
request the transfer of primary jurisdiction over the defendant from the State of Louisiana to the
Federal Government. The defendant understands that the Government cannot guarantee that this
request will be granted.

The defendant further understands that the maximum penalty he may receive should his
plea of guilty be accepted is ten (10) years imprisonment, a fine of $250,000, three (3) years
supervised release, and such restitution as may be ordered by the Court.

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties enter
this agreement with the understanding that, at sentencing, the parties will jointly recommend to
the Court that whatever sentence shall be imposed by the Court in the instant case shall run
concurrently to any sentence imposed on the defendant by the Twenty-First Judicial Court for the
Parish of Tangipahoa, State of Louisiana, in case number 1602073. The parties acknowledge that
the following state charges are pending against the defendant in the Twenty-First Judicial District
Court for the Parish of Tangipahoa, State of Louisiana, in case number 1602073: one count of
Human Trafficking (LA R.S. 14:46.2), one count of Cruelty to the Infirm (LA R.S. 14:93.3), one
count of Second Degree Kidnapping (LA R.S. 14:44.1), and one count of Contributing to the
Delinquency of Juveniles (LA. R.S. 14:92.A(11)(a)). The parties further acknowledge that the
Tangipahoa Parish District Attorney’s Office (TPDAO) has stated its intent to resolve these
pending state charges in the following manner: if the defendant successfully enters a plea to Count
One of the Superseding Bill of Information in federal court and is sentenced on that count, and if
the defendant pleads guilty in state court to one count of Cruelty to the Infirm (LA R.S. 14:93.3),
and one count of Second Degree Kidnapping (LA R.S. 14:44.1), then TPDAO will dismiss the
remaining pending state charges of one count of Human Trafficking (LA R.S. 14:46.2), and one
count of Contributing to the Delinquency of Juveniles (LA. R.S. 14:92.A(11)(a)), and seek a state
court sentence of no more than fifteen years imprisonment, with all but ten years suspended.
Regardless, the defendant understands and has discussed with his attorney that the United States
is not a party to the defendant’s agreement with the TPDAO, and has no authority of any kind to
enforce any such agreement. The defendant understands that failure by the TPDAO to honor its
agreement will not be grounds for invalidation of this agreement.

As noted, it is understood that the Court may require the defendant to pay restitution in this
matter in accordance with applicable law. The defendant further understands that he is liable to
make restitution for the full amount of the loss determined by the Court to constitute relevant
conduct, which is not limited to the count of conviction. To the extent possible by law, all
restitution paid to the victim in this case shall be made pursuant to the Trafficking Victim
Protection Act and the restitution will be paid pursuant to 18 U.S.C. Section 1593. The defendant
agrees that any restitution will be non-dischargeable in any bankruptcy proceeding and that
defendant will not seek or cause to be sought a discharge or a finding of dischargeability of any
restitution obligation. The defendant further acknowledges and understands that, notwithstanding
any payment schedule imposed at sentencing or during probation or supervised release, restitution
is due and payable in full immediately upon entry of the judgment of conviction.

Further, the defendant understands that a mandatory special assessment fee of $100.00
shall be imposed under the provisions of Section 3013 of Title 18, United States Code. This special

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assessment must be paid on the date of sentencing. Failure to pay this special assessment may
result in the plea agreement being voided.

The defendant further understands that the Court, in imposing a sentence of a term of
imprisonment, may include as part of the sentence a requirement that the defendant be placed on
a term of supervised release after imprisonment for a period of up to three (3) years pursuant to
Title 18, United States Code, Section 3583. Supervised release is a period following release from
prison during which defendant’s conduct will be monitored by the Court or the Court’s designee.
Defendant fully understands that if defendant violates any of the conditions of supervised release
that the Court has imposed, defendant’s supervised release may be revoked and defendant may be
ordered by the Court to serve in prison all or part of the term of supervised release.

Defendant understands that Title 18, United States Code, Section 3742 and Title 28, United
States Code, Section 1291, may give a criminal defendant the right to appeal his conviction,
sentence, restitution, fine, and judgment imposed by the Court. Defendant also understands that
he may have the right to file collateral challenges to his conviction and sentence, and judgment,
including but not limited to rights provided by Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, and writs of coram nobis and audita querela. Defendant further understands that Title
18, United States Code, Section 3582(c)(2), may allow the Court to grant a sentencing reduction
to the defendant if the defendant has been sentenced to a term of imprisonment based upon a
sentencing range that has been subsequently lowered by the United States Sentencing Commission
and determined to apply retroactively to defendants who already have been sentenced to a term of
imprisonment.

Acknowledging these rights, subject only to the exceptions indicated in subsection (d)
below, the defendant, in exchange for the promise(s) and agreement(s) made by the United States
in this plea agreement, knowingly and voluntarily:

a. Waives and gives up any right to appeal or contest his guilty plea, conviction,
sentence, fine, supervised release, and any restitution imposed by any judge under any applicable
restitution statute, including but not limited to any right to appeal any rulings on pretrial motions
of any kind whatsoever, as well as any aspect of his sentence, including but not limited to any and
all rights which arise under Title 18, United States Code, Section 3742 and Title 28, United States
Code, Section 1291;

b. Waives and gives up any right to appeal any order, decision, or judgment arising
out of or related to Title 18, United States Code, Section 3582(c)(2) imposed by any judge and
further waives and gives up any right to challenge the manner in which his sentence was
determined and to challenge any United States Sentencing Guidelines determinations and their
application by any judge to the defendant’s sentence and judgment;

c. Waives and gives up any right to challenge his sentence collaterally, including but
not limited to any and all rights which arise under Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, writs of coram nobis and audita querela, and any other collateral challenges to his
sentence of any kind; and

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d. The defendant specifically does not waive, and retains the right to bring a direct
appeal of any sentence imposed in excess of the statutory maximum. The defendant also retains
the right to raise a claim of ineffective assistance of counsel in an appropriate proceeding.

The defendant understands and acknowledges that his knowing and voluntary waiver of
the right to appeal or collaterally attack his conviction and sentence includes waiving the right to
raise on appeal or on collateral review any argument that (1) the statute(s) to which the defendant
is pleading guilty is unconstitutional and (2) the admitted conduct does not fall within the scope
of the statute(s).

The defendant understands that any discussions with defendant’s attorney or anyone else
regarding sentencing guidelines are merely rough estimates and the Court is not bound by those
discussions. The defendant understands that the sentencing guidelines are advisory and are not
mandatory for sentencing purposes. The defendant understands the Court could impose the
maximum term of imprisonment and fine allowed by law, including the imposition of supervised
release. The defendant is also aware that in determining a fair and just sentence, the Court has the
authority and discretion, pursuant to Title 18, United States Code, Sections 3553 and 3661 and the
United States Sentencing Guidelines, to consider any and all “relevant conduct” that the defendant
was involved in, the nature and circumstances of the offenses, and the history and characteristics
of the defendant.

In an effort to resolve this matter in a timely fashion and show good faith, the defendant
agrees to knowingly, voluntarily, and expressly waive his rights pursuant to Rule 410(a) of the
Federal Rules of Evidence upon signing this plea agreement and the factual basis. The defendant
understands and agrees that if he violates the plea agreement, if he withdraws his decision to plead
guilty, or if his guilty plea is later withdrawn or otherwise set aside, any statements he has made
to law enforcement agents or an attorney for the prosecuting authority during plea discussions, any
statements he has made during any court proceeding involving his plea of guilty (including any
factual bases or summaries signed by the defendant), and any leads from such statements, factual
bases or summaries, shall be admissible for all purposes against the defendant in any and all
criminal proceedings.

The defendant agrees to forfeit to the United States any right, title, and interest in all assets
subject to forfeiture under the notice(s) of forfeiture contained in the charging document, including
property specified in any bill of particulars and property previously seized by the Government for
administrative, civil, or criminal forfeiture. The defendant further consents to the filing of a motion
for a preliminary order forfeiting such property and any dollar amount specified in the notice(s) of
forfeiture or bill of particulars, and the defendant confesses the requisite nexus between the
property and the charge(s) of conviction. The defendant hereby withdraws any petition for
remission or claim for such property and further waives any right to contest or appeal the
Government’s forfeiture proceedings for any reason, including on grounds that the forfeiture
constitutes an unconstitutionally excessive fine or punishment, and in any manner, including by
claim, petition, appeal, or collateral attack.

The defendant further agrees to submit to interviews whenever and wherever requested by
law enforcement authorities regarding all assets currently or previously within his possession or
any assets transferred or sold to or deposited with any third party as outlined within the preceding

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paragraph. It is also understood that defendant will provide any and all financial information and
documentation requested by the Government, agrees to voluntarily execute a complete and
thorough Financial Statement of Debtor, and further agrees to provide the requested List of Items
that is attached to the Financial Statement. The defendant understands this information may be
provided to a representative of any victim of this offense.

The defendant recognizes that any criminal monetary penalty, whether special assessment,
criminal fine, or restitution, that is owed as a result of his conviction will be immediately submitted
to the Treasury Offset Program. The defendant waives any objection to his inclusion in the
Treasury Offset Program.

The defendant acknowledges that he wishes to enter this plea agreement because he is in
fact guilty of the charged crime and that victim D.P. was harmed as a result of his criminal acts.

The defendant understands that the statements set forth above and in the attached SEALED
document (Attachment “A”’) represent defendant’s entire agreement with the Government; there
are not any other agreements, letters, or notations that will affect this agreement.

Very truly yours,

PETER G. STRASSER
UNITED STATES ATTORNEY

JULIA K. EVANS
Assistant United States Attorney

RISA BERKOWER
NICHOLAS REDDICK

Trial Attorneys
Civil Rights Division, Criminal Section

ts U.S. Department of Justice
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Counsel for Defendant

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